UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

— X
VIRGINIA L. GIUFFRE,
Plaintiff, :
V. 15-cv-07433-RWS
GHISLAINE MAXWELL,
Defendant.
aon x

 

 

Declaration Of Laura A. Menninger In Support Of Defendant’s Motion
to Reopen Deposition of Plaintiff Virginia Giuffre

I, Laura A. Menninger, declare as follows:

1. I am an attorney at law duly licensed in the State of New York and admitted to
practice in the United States District Court for the Southern District of New York. Tama
member of the law firm Haddon, Morgan & Foreman, P.C., counsel of record for Defendant
Ghislaine Maxwell (“Maxwell”) in this action. I respectfully submit this declaration in support of
Defendant’s Motion to Reopen Deposition of Plaintiff Virginia Giuffre.

2. Attached as Exhibit A is a true and correct copy of the transcript of the hearing
held before this Court on April 21, 2016.

3. Attached as Exhibit B is a true and correct copy ofa letter from Laura A.
Menninger to Sigrid McCawley dated April 25, 2016 concerning discovery.

4. Attached as Exhibit C is a true and correct copy of Plaintiff's Second Amended
Supplemental Response and Objections to Defendant’s First Set of Discovery Requests to

Plaintiff, served April 29, 2016.
5. Attached as Exhibit D (filed under seal) is a true and correct copy the Deposition
of Virginia Giuffre taken in the above captioned matter on May 3, 2016, and designated by
Plaintiff as Confidential under the Protective Order.

6. Attached as Exhibit E (filed under seal) is a true and correct copy of medical
records bates labeled GIUFFRE005431-5438, produced by Plaintiff on May 12, 2016.

7. Attached as Exhibit F (filed under seal) is a true and correct copy of medical
records bates labeled GIUFFRE005492-5496, produced by Plaintiff on May 25, 2016,

8. Attached as Exhibit G (filed under seal) is a true and correct copy of excerpts
from the Deposition iim taken in the above captioned matter on May 24, 2016,
and designated by Plaintiff as Confidential under the Protective Order.

9. Attached as Exhibit H (filed under seal) is a true and correct copy of medical
records bates labeled GIUFFRE005498-005569, produced by Plaintiff on June 1, 2016.

10. Attached as Exhibit I (filed under seal) is a true and correct copy of excerpts from
the Deposition of Dr. Steven Olsen taken in the above captioned matter on May 26, 2016, and
designated by Plaintiff as Confidential under the Protective Order.

11. Attached as Exhibit K (filed under seal) is a true and correct copy of a letter from
Sigrid McCawley to Laura A. Menninger enclosing documents bates labeled GIUFFRE005607-
5613, produced by Plaintiff on June 10, 2016.

12. Attached as Exhibit L is a true and correct copy of a letter from Laura A.
Menninger to Sigrid McCawley and Meredith Shultz dated June 13, 2016 concerning discovery.

13. Attached as Exhibit M (filed under seal) is a true and correct copy of the Errata
Sheet served relating to the Deposition of Virginia Giuffre taken in the above captioned matter,

served on June 1, 2016.
14. — Attached as Exhibit N (filed under seal) is a true and correct copy of Plaintiff,

Virginia Giuffre’s Third Revised Disclosure Pursuant to Fed. R. Civ. P. 26, served June 1, 2016.

By: /s/ Laura A. Menninger

 

Laura A. Menninger

CERTIFICATE OF SERVICE

I certify that on June 20, 2016, I electronically served this Declaration Of Laura A.
Menninger In Support Of Defendant’s Motion to Reopen Deposition of Plaintiff Virginia Giuffre

via ECF on the following:

Sigrid S. McCawley

Meridith Schultz

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/s/ Nicole Simmons
Nicole Simmons
EXHIBIT A
